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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                            Criminal No. 12-295(2) (PAM/AJB)


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )       Discovery Declaration and
               V.                            )       Outline of Preliminary Pre-
                                             )       Trial Motions
JULIE CAMPANA,                               )
                                             )
                      Defendant.             )


       Ms. Campana stands accused of aiding and abetting the robbery of a hotel,

interfering with interstate commerce (Count I), and with aiding and abetting the use of a

firearm in and in relation to the robbery (Count 2). Through counsel, she respectfully

tenders this discovery declaration and outline of the preliminary pre-trial motions filed in

this case.1




       Discovery

       Pursuant to the Court’s Order, counsel received a collection of 17 discs of

discovery materials, on December 13, 2012. The discs contain video and audio

surveillance, recordings of interrogations, and several thousand pages of reports and

       1
          This submission is intended as a review of the discovery provided to date and of the
discovery and suppression motions filed along with it, and not as a means of avoiding reciprocal
discovery obligations under Rule 16 of the Federal Rules of Criminal Procedure. We seek
discovery of all materials to which the defense is entitled under any and all laws, rules and
regulations, and do not object to the motion for reciprocal discovery that has been offered by the
prosecution.
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documentary evidence. These disclosures are voluminous. Apart from the matters

discussed below, the discovery provided to date contains no obvious omissions, although

it is difficult to know the details of a process about which we are ignorant. Accordingly,

no generic Rule 16 discovery motion is filed.

       It is often the government’s practice to disclose Rule 16 (a)(1)(G) information

concerning experts and expert testimony long after the court-ordered discovery deadline.

To avoid any need for continuances and to address Rule 16’s provision that its

protections, including those appearing at 16(a)(1)(G), apply “upon request”, a motion

seeking this information is offered. In similar spirit, and in light of decisions holding that

“if you don’t ask, you can’t complain about not getting any”, we file a motion seeking

access to exculpatory material.

       The discovery reflects that Ms. Campana is alleged to have made statements to law

enforcement on several occasions and in several different contexts, including on October

29 and 30, 2012, in connection with these charges and the investigation underlying them.

We therefore seek access to all reports, notes, tapes and other records of her statements.

       The use of electronic surveillance technologies are sometimes a part of the

investigation leading to charges such as these. Accordingly, we offer a motion seeking

access to the results of any electronic surveillance used in the development of this case.

Beyond this, the use of informants is also common, and we therefore seek access to any

informants and all evidence of their compensation or other incentives.



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       Finally, we move for the establishment of deadlines on the near future for the

disclosure of any evidence the prosecution may seek to introduce pursuant to Rule 404(b)

of the Federal Rules of Evidence, and all Jencks Act materials that will become

discoverable at trial.




       Dispositive Motions

       Statements on several occasions are attributed to Ms. Campana. These include

statements made in connection with her detention and arrest on October 29, 2012, and in

separate interrogation sessions conducted by representatives of various law enforcement

agencies, on October 29 and 30. The disclosures relating to these statements, a

combination of audio and video recordings and summary reports, raise several concerns.

The records reflect that the statements were the fruit of an unlawful detention and arrest.

They further reflect that Ms. Campana was interrogated under circumstances that were

custodial in nature, without the benefit of a valid advice or rights process, and that

interrogation continued after her repeated invocations of her rights to silence and counsel.

The records establish that the statements were not the result of a voluntary waiver of her

rights to silence and counsel, and that a technique referred to as mid-interrogation

Miranda was used. For these reasons, we offer a motion seeking the suppression of these

statements.




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         If it later becomes clear that additional interrogations or searches and seizures

subject to Constitutional or other legal challenge were performed, we will seek leave of

the Court to reopen these proceedings so that the underlying issues can be addressed.




Dated:          January 11, 2013

                                             Respectfully submitted,
                                             s/ Andrew H. Mohring
                                             __________________________
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